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             Exhibit 42
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                                                                    Page 1

   1      UNITED STATES DISTRICT COURT
          DISTRICT OF NEW JERSEY
   2      CIVIL ACTION NO. 2:16-CV-06576
          ----------------------------------------x
   3
          INDUSTRIA DE ALIMENTOS ZENU S.A.S.,
   4
                      Plaintiff,
   5
                 - against -
   6
          LATINFOOD U.S. CORP. D/b/a ZENU PRODUCTS
   7      CO. And WILSON ZULUAGA,
   8                Defendants/Counter Plaintiff.
          ----------------------------------------x
   9      LATINFOOD U.S. CORP. D/b/a ZENU PRODUCTS
          CO.,
  10
                      Defendant/Counter Plaintiff.
  11
               and
  12
          INDUSTRIA DE ALIMENTOS ZENU S.A.S
  13      and CORDIALSA USA, INC.
  14      --------------------------------------------------x
  15                   TRANSCRIPT of the stenographic notes of
  16      the deposition of GREGORIO PEREZ RANGEL in the
  17      above-entitled matter, as taken by and before ELLEN
  18      J. GODINO, CRR, RPR, CRCR, held at the office of
  19      THE INGBER LAW FIRM, 51 JFK Parkway, First Floor
  20      West, Suite 159, Short Hills, New Jersey, on Monday,
  21      September 9, 2019, commencing at 11:13 a.m.
  22
  23                         *       *         *
  24
  25

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   1              Q.     And how long have you been at El Mercado
   2      De La Ocho?
   3              A.     It's going to be two years.
   4              Q.     Two years, okay.
   5                     And is it correct to say that you left
   6      Food Fair Supermarket to become the manager at
   7      El Mercado De La Ocho?
   8              A.     No.
   9              Q.     Where did you go between Food Fair
  10      Supermarket and El Mercado De La Ocho?
  11              A.     When I went to El Mercado De La Ocho,
  12      before that, I was working in a small supermarket.
  13      It was a bodega called La Despensa.
  14              Q.     And how long were you there?
  15              A.     Around four months, at least.
  16              Q.     And where were you working before
  17      La Despensa?
  18              A.     I don't remember where I was working.             I
  19      don't remember.
  20              Q.     And what was your title at Food Fair
  21      Supermarket?
  22              A.     I was second to the manager.
  23              Q.     And who was the manager?
  24              A.     I don't remember the number -- sorry, I
  25      don't remember the name of my coworker.

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   1              Q.     So you were there for two years, but you
   2      don't remember the name of the manager?
   3              A.     No, because we didn't get along very
   4      well.
   5              Q.     And that was the reason why you left
   6      Food Fair Supermarket.        Is that correct?
   7              A.     Correct.
   8              Q.     When did you first become aware that
   9      there was a lawsuit between Latinfood and Industria?
  10              A.     I learned of this lawsuit when a person
  11      came to sell the brand Zenu, and so I purchased the
  12      brand, and then later -- a week later, this woman
  13      came in, and I asked her if she was selling this
  14      brand, and she said yes.
  15                     I always ask for prices, and if it's a
  16      good price, I'll buy.       But it's not a good price, I
  17      don't buy it.     She came and said, let's do this.
  18                     As I said, my job is purchasing and all
  19      I want is for the owner to be happy with the things
  20      that I buy.    Everything else, I don't know where it
  21      comes from.    I don't know.
  22              Q.     So I believe you said there was a woman
  23      who came to sell Zenu product.            Is that correct?
  24              A.     No, this was a man from another company.
  25              Q.     And do you know who that man was?

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   1              A.     No, I don't remember.
   2              Q.     Was it somebody that worked for
   3      Latinfood?
   4              A.     No, it was a different person from
   5      another company.
   6              Q.     Have you ever heard about Latinfood?
   7              A.     Never.
   8              Q.     Do you know Mr. Zuluaga, Wilson, sitting
   9      next to you?
  10              A.     Yes, years.
  11              Q.     Tell me when you first met him.
  12              A.     I don't remember the first time.           I met
  13      him when I was working at a supermarket, and I asked
  14      him if he had Columbian products, and he said yes.
  15              Q.     Do you remember what year that was?
  16              A.     I honestly don't remember.
  17              Q.     What was his response to your question?
  18              A.     Demands?
  19              Q.     Yes.
  20              A.     He said he had the products, and had
  21      affordable prices, and that's what I do; I look for
  22      affordable prices.
  23              Q.     Did he mention the names of his
  24      products?
  25              A.     No, he did not mention.

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   1              Q.     And that was Wilson Zuluaga that came to
   2      you and told you he had Columbia products.            Is that
   3      correct?
   4              A.     Correct.
   5              Q.     What is the nature of your relationship
   6      with Mr. Zuluaga?
   7              A.     Well, what I do is that I ask him if he
   8      has the product that a lot of people ask for and
   9      carry in the store.      What I do is that I call him or
  10      the person working there.         If they have it, great,
  11      and if not, oh, well.
  12              Q.     Do you know what products and brands
  13      Mr. Zuluaga sells?
  14              A.     Yes.
  15              Q.     And what are they?
  16              A.     He sells --       he sells the Chinese
  17      sauces, the brand Fruco and other things, but the
  18      Marco Zenu, I don't know.
  19              Q.     Have you ever heard of a company called
  20      Industria de Alimentos Zenu?
  21              A.     No.
  22              Q.     Have you ever heard of a company by the
  23      name of Cordialsa?
  24              A.     I think so.
  25              Q.     Do you know what products they sell?

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   1              A.     Yes, they sell Nescafe, Chocolisto,
   2      Nusitas, and I don't know what else.
   3              Q.     Do you know what the name of
   4      Mr. Zuluaga's company is?
   5              A.     No.
   6              Q.     Did Mr. Zuluaga sell Food Fair meat
   7      products?
   8              A.     I honestly don't remember.
   9              Q.     I think you said before that you've
  10      heard of Cordialsa.
  11              A.     Yes.    I have that company in my store.
  12              Q.     In your current store?
  13              A.     Yes.
  14              Q.     Were they also at Food Fair Supermarket?
  15              A.     Yes, they were.
  16              Q.     And were they --          and what products were
  17      they providing to Food Fair?
  18              A.     I don't remember, but honestly they
  19      provided many products.        But as I said before, I was
  20      only interested in prices.
  21              Q.     How many people work at Food Fair
  22      Supermarket?
  23              A.     I don't remember, honestly, how many
  24      people worked there.
  25              Q.     Were you the groceries manager at

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   1      Food Fair Supermarket?
   2              A.     Yes, I was the manager, but I was --
   3      there's a line -- what do you call this line -- well,
   4      all the products that came from Central America, all
   5      over those countries, I was in charge of that.
   6              Q.     Did you purchase canned beans from
   7      Mr. Zuluaga?
   8              A.     With this man?
   9              Q.     Yes.
  10              A.     With him, I don't know because one time
  11      a salesman of his came in, and I asked him if he had
  12      those products, and he said yes, and I asked for
  13      prices.
  14              Q.     So you worked in the imported line at
  15      Food Fair Supermarket.        Is that correct?
  16              A.     Yes, correct.
  17              Q.     Who did you know from Cordialsa?
  18              A.     Mrs. Maria Elena.
  19              Q.     Did she come and visit the store?
  20              A.     Yes, correct.
  21              Q.     And how about Alejandro Yepes?
  22              A.     I honestly never met him.
  23              Q.     Have you ever seen Zenu or Ranchera in
  24      any of your stores?
  25              A.     Honestly, no.

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   1              Q.     Do you know if Zenu or Ranchera-branded
   2      products are well known or famous in the
   3      United States?
   4              A.     Honestly, no.
   5              Q.     Have you ever heard of a company called
   6      Grupo Nutresa?
   7              A.     No.
   8              Q.     I think you said you knew
   9      Elvis Rodriguez.      Is that correct?
  10              A.     Yes, he's the owner.
  11              Q.     And how long do you know Mr. Rodriguez?
  12              A.     Since I started working.            Honestly, I
  13      didn't know him before.        I was introduced to him the
  14      first time he offered the job.
  15              Q.     And when did you meet him?
  16              A.     That day, when I started working.
  17              Q.     Was it 2014?
  18              A.     Approximately.
  19              Q.     And were you working at Food Fair in
  20      2015?
  21              A.     I don't remember if I was or if I left
  22      before.
  23              Q.     In connection with Exhibit 1, I'd like
  24      you to turn to page 25.        So I'd like you to read
  25      numbers 18 through 20.

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    1                     Are you able to read this, by the way --
    2      it's in English -- or would you like to have it
    3      translated.
    4              A.     I need it translated.
    5                     (Translator reads the document to the
    6      witness.)
    7              Q.     That's good.
    8                     So were you working for Food Fair
    9      Supermarket on or around July 15, 2015?
   10              A.     I don't remember.
   11              Q.     Did somebody --         do you know if somebody
   12      came to you from Cordialsa, like it says here?
   13              A.     Well, a salesman did approach me, and
   14      told me to remove that from the shelf.             That's it.
   15      He didn't say anything else.           He just said that,
   16      turned around and left.        Nothing else.
   17              Q.     Who was the salesman?
   18              A.     I don't remember who it was.
   19              Q.     Was it from Cordialsa?
   20              A.     Yes.
   21              Q.     And what exactly did he tell you to
   22      remove?
   23              A.     He only told me to remove that from the
   24      shelf because he said that didn't have -- well, that
   25      they were illegal.      That's all.

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    1              Q.     And were these Zenu-branded products?
    2              A.     Yes, Zenu.
    3              Q.     And had you ever seen this person
    4      before?
    5              A.     No.
    6              Q.     Have you seen him since?
    7              A.     No.
    8              Q.     And what did you say when he told you
    9      this?
   10              A.     I didn't say anything, I didn't answer.
   11              Q.     Was he angry when he said this?
   12              A.     No, he didn't say anything.
   13              Q.     Okay.    Did you tell anybody about this,
   14      like Mr. Rodriguez?
   15              A.     No, he didn't say anything.
   16              Q.     Did you tell Mr. Rodriguez about what
   17      this salesman from Cordialsa had said about removing
   18      Zenu products?
   19              A.     No, I did not say anything.
   20              Q.     Did you do as the Cordialsa salesman
   21      instructed?
   22              A.     No.
   23              Q.     And why not?
   24              A.     Because I saw that the salesman went
   25      into the office, and I didn't want to get involved

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    1      anymore.
    2              Q.       Whose office did he go into?
    3              A.       The store's office.
    4              Q.       Was that where Mr. Rodriguez's office
    5      was located?
    6              A.       Yes, but he was not there.
    7              Q.       Who was there?
    8              A.       The secretary.
    9              Q.       Okay.   How long was --            how long was
   10      Mr. --      excuse me, the Cordialsa salesperson there
   11      for?
   12              A.       Only around three minutes.
   13              Q.       Did you see Mr. Zuluaga at the store
   14      that same day?
   15              A.       No, I did not see him.
   16              Q.       Do you know if Zenu-branded product were
   17      removed from store shelves at Food Fair Supermarket?
   18              A.       No, because --        no, because they were
   19      very few left; most of them are gone.
   20              Q.       Did Mr. Rodriguez ever speak to you
   21      about Zenu-branded products?
   22              A.       No.   I asked him if he had any.
   23              Q.       You asked who?
   24              A.       To the lady -- the saleslady.
   25              Q.       The saleslady from Cordialsa?

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    1              A.     Yes, the man right here.
    2              Q.     Oh, he's with Latinfood.
    3                     And what did she say?
    4              A.     She said yes.
    5              Q.     Was this on the same day that you met
    6      with that Cordialsa salesperson?
    7              A.     No.   No.
    8              Q.     Did you ever have any conversations with
    9      Mrs. Zuluaga about the Cordialsa representative
   10      coming to Food Fair and saying that the products were
   11      illegal and should be removed?
   12              A.     No.
   13              Q.     Did the Cordialsa salesperson explain
   14      why the Zenu-branded products on your store shelves
   15      at Food Fair Supermarket were illegal?
   16              A.     No, he did not explain.
   17              Q.     And was that your only conversation with
   18      this Cordialsa representative?
   19              A.     Correct.
   20              Q.     Now, on March 13, 2019, we took the
   21      deposition of Elvis Rodriguez here.
   22                     According to Mr. Rodriguez, on that same
   23      day, the Cordialsa representative told him to remove
   24      all Zenu products from his store shelves.
   25                     Are you aware of this?

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    1              A.     No, I didn't know anything.           He didn't
    2      tell me.
    3              Q.     Did Mr. Rodriguez ever discuss anything
    4      with you about Zenu Products?
    5              A.     No.
    6              Q.     Did the --      did the Cordialsa
    7      representative -- salesperson mention that only his
    8      company was allowed to sell Zenu-branded products?
    9              A.     No, he did not say anything.
   10              Q.     Have any customers ever told you that --
   11      that Mr. Zuluaga's Zenu-branded products are not
   12      legal?
   13              A.     Never.
   14              Q.     Did you remove any of Mr. Zuluaga's
   15      Zenu-branded products on the store shelves?
   16              A.     No.
   17              Q.     Did you ever have any complaints about
   18      Mr. Zuluaga's Zenu Products before?
   19              A.     No, none.
   20                     MR. INGBER:       Okay.      I want to take a
   21      short break.
   22                     (A recess takes place.)
   23      BY MR. INGBER:
   24              Q.     Did Food Fair have an aisle where it
   25      sold Hispanic or Latin product?

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    1              A.     Correct.
    2              Q.     Is that where Mr. Zuluaga's products
    3      were being sold?
    4              A.     Correct.
    5              Q.     Was that --       did that include product
    6      that was made in the U.S.?
    7              A.     No, we had products from different
    8      countries, for example, Peru, Columbia, Mexico,
    9      different countries.
   10              Q.     Did they sell Goya products there?
   11              A.     Yes, but that's a different aisle.
   12              Q.     Okay.    What aisle was that?
   13              A.     Three.
   14              Q.     Was that considered an Hispanic aisle?
   15              A.     Yes, but those are made here in the
   16      United States.
   17              Q.     Well, do you know where Mr. Zuluaga's
   18      product was made?
   19              A.     Sorry?
   20              Q.     Do you know where Mr. Zuluaga's products
   21      were made by any chance?
   22                     Do you have personal knowledge?
   23              A.     Honestly, no.
   24                     MR. INGBER:       Okay.      Thank you.
   25                     No further questions.

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    1                     MR. BERMAN:       I do have a few questions,
    2      actually.
    3      EXAMINATION BY MR. BERMAN:
    4              Q.     Just to introduce myself, my name is
    5      Jeremy Berman, and I represent the plaintiff --                I
    6      represent Industria de Alimentos Zenu, the plaintiff
    7      in this action, and also Cordialsa, the
    8      counter-defendant.
    9                     So on that day when the individual told
   10      you about the products and told you to take them
   11      down -- is that what you said earlier?
   12              A.     Yes, I said that, but I did not remove
   13      them.
   14              Q.     Okay.    And who did you say you worked
   15      for?
   16              A.     For that person.          What did I say?      It
   17      was that woman.     What's her name?           Maria Elena.    I
   18      don't remember what company she worked for.
   19              Q.     How do you know this man worked for
   20      Maria Elena?
   21              A.     Because she comes to my store.
   22              Q.     Did he say he worked for her?
   23              A.     Well, yes, he was working with her for
   24      some time.
   25              Q.     So have you ever seen him before that

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    1      day?
    2              A.     No.
    3              Q.     Then how did you know he worked with her
    4      for some time?
    5              A.     Because she told me.
    6              Q.     So you talked to her, Maria Elena, about
    7      this incident?
    8              A.     No.   When Maria Elena was working with
    9      that company, the Zenu brand was not there yet.
   10              Q.     Okay.    Then how did you know that
   11      Maria Elena had worked with that man before?
   12              A.     Because Maria Elena -- every salesperson
   13      that comes to the store, they tell me what company
   14      they're working for.      They introduce themselves
   15      first.
   16              Q.     Did that man tell you what company he
   17      works for?
   18              A.     Yes, he told me.
   19              Q.     Okay.    Did he speak to anyone else --
   20      did you see him speak to anyone else that day?
   21              A.     No, with no one else.
   22              Q.     Was your manager in the store that day?
   23              A.     No.
   24              Q.     And was the manager at that time the
   25      same manager you had the whole two years?

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    1              A.     Yes.
    2              Q.     And what was his name?
    3              A.     The manager, I don't remember, but I
    4      remember the owner's name is Elvis.
    5              Q.     Okay.    Was anyone else standing nearby
    6      when this man spoke to you about the new product?
    7              A.     No one.     No one.
    8              Q.     How long was he in the store that day,
    9      do you remember?
   10              A.     Around three minutes.
   11              Q.     And how long was he speaking to you
   12      about?
   13              A.     Around one minute.
   14              Q.     What language did he speak to you in?
   15              A.     Spanish.
   16              Q.     And do you remember the exact words he
   17      used to speak to you about the product?
   18              A.     Yes, he only said that I could not sell
   19      that product and to remove it from the aisle.
   20      Nothing else.
   21              Q.     Those were the only words he used?
   22              A.     That's all.
   23              Q.     Okay.    You mentioned earlier that you
   24      met Mr. Zuluaga prior to working at Food Fair.
   25      Correct?

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    1              A.     Yes.   Correct.
    2              Q.     And you said that you asked him if he
    3      sold Columbian products, and he said yes.               Is that
    4      right?
    5              A.     Correct.
    6              Q.     Does he only sell products made in
    7      Columbia?
    8              A.     I never asked that.            I don't --   I only
    9      asked, but I don't know if they make them at Columbia
   10      or not.
   11              Q.     And at Food Fair, Zenu products were in
   12      the Latin food aisle.       Correct?
   13              A.     Correct.
   14              Q.     And you said all the products in that
   15      aisle or in that section are not made in the
   16      United States?
   17              A.     No.    Correct.
   18              Q.     So the products in that aisle are not
   19      from the United States?
   20              A.     No.
   21              Q.     Sorry.    I asked a negative, so the
   22      answer is confusing.
   23                     Are all the products in that aisle made
   24      outside of the United States?
   25                     MR. INGBER:       Objection.        Asked and

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    1      answered.
    2              A.     Outside of the United States.
    3              Q.     Thank you.      I asked it a bad way the
    4      first few times.     Sorry.
    5                     So does that mean that Zenu products
    6      were made outside of the United States?
    7              A.     I don't know.
    8              Q.     Did Mr. Zuluaga ever tell you that Zenu
    9      products were made outside of the United States?
   10              A.     He never said that.
   11              Q.     Okay.    So after the man told you to take
   12      down the products, you never spoke to anyone else
   13      about that conversation?
   14              A.     I didn't mention it to anyone.
   15              Q.     Okay.    So that conversation did not have
   16      any affect on whether Food Fair continued to sell the
   17      products?
   18              A.     Nowhere.
   19              Q.     Okay.    Have you spoken to Mr. Ingber
   20      before today?
   21              A.     He only made a call to see if I could be
   22      a witness, to see if I could testify, like to know if
   23      someone had told me to remove the products.            I mean,
   24      if there was a witness, if I could come and testify.
   25              Q.     Okay.    When did this call happen?

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    1              A.     I don't remember when it was.
    2              Q.     Within the past week?
    3              A.     Honestly, I don't remember.
    4              Q.     In the past month?
    5              A.     Maybe.    It's possible, but I don't know
    6      when.
    7              Q.     Okay.    After you spoke to Mr. Ingber,
    8      did you speak to Mr. Zuluaga at all?
    9              A.     Never.
   10              Q.     Have you ever spoken to Mr. Zuluaga
   11      about this litigation?
   12              A.     No.
   13              Q.     Have you ever spoken to Mr. Zuluaga
   14      about this deposition?
   15              A.     Never because my job keeps me really
   16      busy, and I don't have time for that.
   17              Q.     Okay.    Mr. Ingber asked you if you know
   18      whether these Zenu --       earlier Mr. Ingber asked you
   19      if you know whether the Zenu and Ranchera products
   20      are famous in the United States.
   21                     I believe that you said, honestly, no.
   22      Is that correct?
   23              A.     Correct.
   24              Q.     When you said that, did you mean that
   25      you do not know if they are famous in the

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    1      United States?
    2              A.       I don't know.       No, I don't know.
    3                       MR. BERMAN:      Okay.      No further
    4      questions.
    5      EXAMINATION BY MR. INGBER:
    6              Q.       My name is Mr. Ingber.             Have we ever
    7      spoken before today?
    8              A.       No.
    9              Q.       So I never called you before.             Is that
   10      correct?
   11              A.       No, only a secretary called me to make
   12      sure that I would show up.           That's all.
   13              Q.       So this is the first we're ever speaking
   14      today.      Is that correct?
   15              A.       Correct.
   16                       MR. INGBER:      Off the record.
   17                       (Off-the-record discussion.)
   18              Q.       Now, I want to repeat an earlier answer
   19      you had given when I was asking you questions.
   20                       MR. INGBER:      Can you read that in the
   21      record?
   22              Q.       This is what you said.
   23                       (Testimony reread.)
   24              Q.       Is that your testimony?
   25              A.       Yes.   But I did not remove them.

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    1                     MR. INGBER:       Okay.      Thank you.
    2                     No further questions.
    3                     MR. BERMAN:       Can I ask one more
    4      question?
    5      EXAMINATION BY MR. BERMAN:
    6              Q.     What exact word did you use?             You
    7      mentioned that he said something about them being
    8      illegal.
    9                     Do you know the exact word he used?
   10                     MR. INGBER:       Objection.        Calls for
   11      speculation.    He said that they were illegal.               You
   12      are asking him what exact word he used.               It's already
   13      in the record.
   14                     MR. BERMAN:       I'm curious about the
   15      Spanish word.
   16              Q.     What exact Spanish word did he use that
   17      caused you to say on the record that the products
   18      were illegal?
   19              A.     He never said that the products were
   20      illegal.
   21                     MR. BERMAN:       Okay.      No further
   22      questions.
   23      EXAMINATION BY MR. INGBER:
   24              Q.     Was there a Spanish word he used instead
   25      of "illegal"?

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    1                     MR. BERMAN:       Objection.        Asked and
    2      answered.
    3              A.     No, I don't know very well.
    4              Q.     Your testimony is that -- you said on
    5      the record is he only told me to remove that from the
    6      shelf -- your testimony is, "He" -- "He only told me
    7      to remove that from the shelf because he said that
    8      didn't have -- well, that they were illegal.               That's
    9      all."
   10                     Is that correct?
   11              A.     That they were illegal?
   12              Q.     That's your testimony; "illegal"?
   13              A.     That the person told me?
   14              Q.     Yes.
   15              A.     No, he didn't say anything.
   16                     MR. INGBER:       Okay.      No further
   17      questions.
   18                     (The proceedings concluded at
   19      12:33 p.m.)
   20
   21
   22
   23
   24
   25

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